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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division
 UNITED STATES, et al.,                        )
                                               )
                        Plaintiffs,            )
        v.                                     )       No. 1:23-cv-00108-LMB-JFA
                                               )
 GOOGLE LLC,                                   )
                                               )
                        Defendant.             )

                PLAINTIFFS’ MOTION FOR LEAVE TO FILE UNDER SEAL


        Pursuant to Local Civil Rule 5(C) and the Protective Order (Dkt. 98), Plaintiffs

 respectfully move this Court to exhibit 1 of Plaintiff’s reply in support of its motion to compel all

 data and information referred to and relied on by Google experts. The exhibit contains

 information marked confidential by Defendant Google. Consistent with the local rule and this

 Court’s Electronic Case Filing Policies and Procedures, undersigned counsel have filed the

 materials at issue using the sealed filing event on CM/ECF and hereby certify that they will serve

 a copy on opposing counsel and deliver a copy to this Court in a separate container labeled

 “UNDER SEAL.” The grounds for this motion are contained in the memorandum of law

 concurrently filed in support of this motion. A proposed order is attached for the Court’s

 convenience.




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 Dated: February 8, 2024

 Respectfully submitted,

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